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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF HAWAII


  UNITED STATES OF AMERICA,
          Plaintiff,
      v.                                      Civ. No. 18-145 JMS RT
  SANDWICH ISLES COMMUNI-
  CATIONS, INC., et al.,
          Defendants.


         [PROPOSED] ORDER APPROVING THE UNITED STATES OF
        AMERICA’S UNOPPOSED MOTION FOR ORDER APPROVING
                   EXECUTION SALE PROCEDURES

       Upon consideration of the unopposed motion (the “Motion”) of Plaintiff the

 United States of America (the “United States” or “Plaintiff”) for entry of an Order

 Approving Execution Sale Procedures, the Declaration of Counsel attached to the

 Motion, after finding that the Motion is unopposed, and after finding sufficient

 cause appearing therefore, the Court has decided that the Motion should be granted

 for the reasons set forth therein. It is therefore ORDERED that:

       1.     The United States Marshal for the District of Hawaii (the “Marshal”) is

 authorized and directed to sell the personal property assets of Defendant Sandwich

 Isles Communications, Inc. (“Sandwich Isles”) identified in the Writ of Execution

 [ECF No. 260] (the “Property”) to the highest bidder pursuant to the Writ of

 Execution and the applicable provisions of Chapter 651 of the Hawaii Revised


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 Statutes, in “AS IS/WHERE-IS” condition, without any representations or

 warranties whatsoever to title or possession, and by way of quitclaim conveyance,

 by public sale at 12:00 p.m. on May 20, 2024 (the “Auction”), which shall be

 advertised in a Notice of Execution Sale that the Marshal shall file with this Court,

 in accordance with this Order. Pursuant to HRS §651-49, only Sandwich Isles’s

 interest in the Property will be sold. The sale shall not be final until confirmed by

 this Court. Any objections to the sale shall be determined at the confirmation

 hearing.

       2.     No bond shall be required of the Marshal.

       3.     The Auction and sale shall be conducted consistent with all applicable

 laws including, to the extent applicable, the Rural Electrification Act, the

 Communications Act, and the Hawaiian Homes Commission Act (all of as

 amended).

       4.     The Auction shall proceed according to the following procedures:

             a.     Potential Bidders. Any party that executes the Confidentiality
       Agreement attached to the Protective Order governing post-judgment
       discovery [ECF No. 377] may participate in the Auction as a potential bidder
       (a “Potential Bidder”).

              b.     Due Diligence. Plaintiff shall make a virtual data room
       available to any Potential Bidder that contains diligence materials
       concerning the Property obtained in post-judgment discovery and during
       Plaintiff’s post-judgment inspection of the Property.

              c.     Bid Deadline. Potential Bidders shall submit bids, in writing,
       to Plaintiff and the Marshal no later than 5:00 p.m. May 13, 2024 (the “Bid


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       Deadline”). The bids shall be submitted by email to: The United States of
       America c/o Shane Huang, Esq. (shane.huang@usdoj.gov) and The United
       States Marshal of the District of Hawaii c/o Channing Iwamuro
       (channing.iwamuro@usdoj.gov).

              d.    Qualified Bid Requirements. For a bid to be deemed a
       qualified bid (a “Qualified Bid”), it shall:

                  i.     Property. Identify with specificity whether the bid is for
                         all or a portion of the Property and identify the specific
                         portion(s) of property;

                 ii.     Identity of the Bidder. Identify the identity of the bidder,
                         including participants in any collaborative or joint bid,
                         and provide contact information for the specific person(s)
                         who Plaintiff and the Marshal should contact regarding
                         the bid;

                iii.     Purchase Price. Set forth the purchase price for the
                         Property, which must be in the form of cash, and the
                         source of funding the bidder intends to use to pay such
                         purchase price;

                 iv.     Irrevocability. State that the bid is irrevocable unless and
                         until Plaintiff accepts another bid and the bidder is not
                         selected as a Backup Bid (defined below);

                 v.      No Contingencies or Conditions. State that the bid is not
                         subject to any contingencies or conditions of any kind;

                 vi.     Backup Bid. State that the bidder agrees to serve as a
                         Backup Bid (defined below) if the bid is the highest and
                         best bid after the Successful Bid (defined below).

                vii.     Good Faith Deposit. Be accompanied by a good faith
                         deposit, in the form of a certified check payable to the
                         order of the United States Marshal for the District of
                         Hawaii in the amount of 10% of the cash purchase price
                         of the bid (the “Good Faith Deposit”). Payment by
                         certified check shall be mailed to:



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                                U.S. Marshals Service
                                Attn: AO
                                300 Ala Moana Blvd. Room 2800
                                Honolulu, HI 96850;

               viii.      Evidence of Consideration. Be accompanied by written
                          evidence that demonstrates that the bidder has available
                          cash and/or a commitment for financing if selected as the
                          Successful Bid (defined below); and

                 ix.      Proposed Use of Property. Document the proposed use
                          of the Property, including how the proposed use of the
                          Property shall benefit the residents of the Hawaiian
                          Home Lands and the bidder’s capability to provide
                          continuity of service in accordance with Sandwich Isles
                          Communications, Inc.’s License from the date the court
                          confirms the purchase.

              e.     Auction. If only one (1) Qualified Bid is received for the
       Property, or for any subset, lot, or package thereof, Plaintiff may, in its
       discretion, elect not to hold an Auction and may select such Qualified Bid as
       the Successful Bid (defined below) for that Property. If more than one
       Qualified Bid is received for the Property, Plaintiff shall conduct the
       Auction according to the following procedure:

                   i.     Subsets, Lots, or Packages. Plaintiff may exercise its
                          reasonable judgment based upon the Qualified Bids
                          received to determine whether the Auction shall proceed
                          for the Property as a whole, or whether the Auction shall
                          be divided into subsets, lots or packages.

                  ii.     Time and Place of Auction. The Marshal shall conduct
                          the Auction at 12:00 p.m. on May 20, 2024, on the steps
                          in front of the United States Courthouse, 300 Ala Moana
                          Boulevard, Honolulu, HI 96850.

                 iii.     Auction Participants. Parties that submit Qualified Bids
                          prior to the Bid Deadline shall be entitled to participate in
                          the Auction.

                 iv.      Opening Bid. The opening bid at the Auction shall be the

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                          highest and best Qualified Bid received prior to the Bid
                          Deadline for the Property or any subset, lot, or package
                          thereof (the “Opening Bid”).

                  v.      Topping Bids. Any topping bid at the auction must
                          exceed the Opening Bid by $100,000.00 if the Opening
                          Bid is for substantially all of the Property, or for such
                          lower amount as determined by Plaintiff in its reasonable
                          judgment at the time of the Auction if the Opening Bid is
                          for any subset, lot, or package of the Property (a
                          “Topping Bid”).

                 vi.      Successful Bid. After one or more rounds of bidding
                          where each Qualified Bidder is given the opportunity to
                          make a Topping Bid, Plaintiff shall select the highest and
                          best bid as the Successful Bid for the Property, or for any
                          subset, lot, or package thereof (the “Successful Bid”). In
                          determining which bid is the highest and best bid for the
                          Property or any subset, lot, or package thereof, Plaintiff
                          may, in its discretion, take into consideration the bid’s
                          benefits to the residents of the Hawaiian Home Lands.

                vii.      Backup Bid. Plaintiff shall identify the highest and best
                          bid for the Property or any subset, lot, or package thereof,
                          other than the Successful Bid, as the Backup Bid (the
                          “Backup Bid”).

              f.     Payment of Consideration. The bidder who submits the
       Successful Bid for the Property, or any subset, lot, or package thereof (the
       “Successful Bidder”), shall pay the balance of the purchase price to the
       Marshal within seven (7) days of the conclusion of the Auction. The
       Marshal shall hold the proceeds of the sale of the Property subject to the
       directions of this Court.

              g.     Selection of Backup Bid. If the Successful Bidder fails to
       timely deliver the balance of the purchase price to the Marshal, Plaintiff
       shall be entitled to elect to proceed with the Backup Bid. At the Court’s
       discretion, the Good Faith Deposit of a Successful Bidder that fails to timely
       pay the balance of the purchase price as set forth above may be forfeited. If
       Plaintiff elects to proceed with the Backup Bid, the bidder who submitted


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       the Backup Bid (the “Backup Bidder”) shall pay the balance of the purchase
       price to the Marshal within seven (7) days of the Backup Bid election.

       5.     Following the Auction, a further hearing shall be held in this action to

 consider the confirmation of the sale (the “Confirmation Hearing”). At the

 Confirmation Hearing, the Court may also, for good cause shown, allow further

 bidding. In the event further bidding is allowed, the first post-Auction bid must

 exceed the purchase price of the Successful Bid (or Backup Bid in the event of a

 Backup Bid election) by the lesser of 25% or $250,000.00. At the conclusion of

 the Confirmation Hearing, the Court shall, after considering any objections that the

 sale did not comply with these auction procedures, approve the sale of the

 Property, or any subset, lot, or package thereof, as appliable, to the Successful

 Bidder (or Backup Bid in the event of a Backup Bid election) (afterwards, the

 “Purchaser”).

       6.     The Marshal shall return any Good Faith Deposit submitted by an

 unsuccessful bidder within forty-eight (48) hours of the conclusion of the

 Confirmation Hearing.

       7.     All costs and expenses of the closing of the sale, including without

 limitation, the cost of conveyance, including preparation of the conveyance

 documents, payment of conveyance tax, escrow and recording fees, any proof of

 title or title insurance, and notary fees, as well as the costs of securing possession

 of the Property, shall be the responsibility of and paid by the Purchaser.

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       8.     The securing of possession of the Property shall not be a condition to

 closing.

       9.     Any Property sold at the execution sale shall be conveyed as-is,

 where-is without any warranty whatsoever.

       10.    The Marshal shall return the writ, satisfied wholly or in part,

 following the execution sale on or before May 31, 2024, unless the return date is

 further extended by this Court.

       11.    On confirmation of the execution sale by this Court, the Marshal is

 authorized and directed to make, execute and deliver to the order of the purchaser,

 such conveyances of the Property requested by purchaser, as the case may be, as

 may be appropriate. Counsel for the Purchaser shall draft such conveyance

 documents, subject to approval by Plaintiff’s counsel.

       12.    Upon confirmation of the execution sale of the Property held in

 accordance with all of the auction procedures herein by this Court, Sandwich Isles,

 and all persons claiming by, through or under it shall be perpetually barred of and

 from any and all right, title and interest, and claims at law or in equity, in the

 Property or any part thereof sold.

       13.    Following the execution sale, Sandwich Isles shall cooperate with the

 Marshal and the Purchaser to turnover possession of the Property to the Purchaser.

       14.    Sandwich Isles Communications, Inc. and all persons claiming by,


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 through or under it reserves their right to challenge via litigation and otherwise the

 right, title and interest at law or in equity, in any Property or any part thereof sold

 in any sale that does not fully comply with these auction procedures.

       15.      If the successful bidder agrees to honor all of the provisions of the

 Term Sheet attached hereto as Exhibit “1”, Sandwich Isles Communications, Inc.

 will honor it.

       16.      The Court reserves jurisdiction for the purposes of interpretation,

 implementation and enforcement of this Order.

                               END OF ORDER
 Prepared by:

 /s/Shane Huang
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